                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION

DONALD L. BLANKENSHIP,                              )
                                                    )
               Movant,                              )
                                                    )
v.                                                  )       Civil Action No. 5:18-00591
                                                    )       (Criminal Action No. 5:14-00244)
UNITED STATES OF AMERICA,                           )
                                                    )
               Respondent.                          )

                                           ORDER

       By Order entered on August 8, 2018, the undersigned granted in part and denied in part as

moot Movant’s “Motion for In Camera Review” (Document No. 669). (Document No. 697.)

Specifically, the undersigned granted Movant’s “Motion for In Camera Review” as to Document

Nos. DLB-001463, DLB-001464-77, DLB-001496-001501, and DLB-001532. (Id.) Thus, the

Court directed the United States to produce the foregoing documents for in camera review. (Id.)

On August 16, 2018, the undersigned received the foregoing documents and a flash drive from the

United States. Accordingly, it is hereby ORDERED that the Clerk shall file the foregoing

documents nunc pro tunc to August 16, 2018. The undersigned further ORDERS that the

confidential documents (DLB-001463, DLB-001464-77, DLB-001496-001501, DLB-001532)

and the flash drive be filed under seal.

       The Clerk is directed to send a copy of this Order to counsel of record.

       ENTER: August 20, 2018.
